Case No. 1:23-cv-02549-MEH Document 1-2 filed 09/29/23 USDC Colorado pg 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Action No.

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.

 1.   12,324.84 USDT SEIZED FROM BINANCE.COM USER ID # 2974 IN THE
      NAME OF DUEAN PHIKUNKAEW;
 2.   CRYPTOCURRENCY SEIZED FROM BINANCE.COM USER ID # 0476 IN THE
      NAME OF VARAT VITTHAYANUWAT;
 3.   CRYPTOCURRENCY SEIZED FROM BINANCE.COM USER ID # 5033 IN THE
      NAME OF WANG XUEWEN;
 4.   6,972.2 USDT SEIZED FROM BINANCE.COM USER ID # 3307 IN THE NAME
      OF JIANG CHANGSEN;
 ______________________________________________________________________

               WARRANT FOR ARREST OF PROPERTY IN REM
 ______________________________________________________________________

 TO: UNITED STATES MARSHALS SERVICE AND/OR ANY OTHER DULY
 AUTHORIZED LAW ENFORCEMENT OFFICER:

        PURSUANT to the Order for Warrant for Arrest of Property In Rem issued by this

 Court, YOU ARE HEREBY COMMANDED TO ARREST AND SEIZE as soon as

 practicable, the following defendant assets described in the Verified Complaint for

 Forfeiture In Rem filed herewith, and to use whatever means may be appropriate to

 protect and maintain it in your custody until further order of this Court:

           a. 12,324.84 USDT seized from Binance.com User ID # 2974 in the name of
              Duean Phikunkaew;
           b. Cryptocurrency seized from Binance.com User ID # 0476 in the name of
              Varat Vitthayanuwat;
           c. Cryptocurrency seized from Binance.com User ID # 5033 in the name of
              Wang Xuewen;

                                               1
Case No. 1:23-cv-02549-MEH Document 1-2 filed 09/29/23 USDC Colorado pg 2 of 2




         d. 6,972.2 USDT seized from Binance.com User ID # 3307 in the name of
            Jiang Changsen;



      DATED this     day of ______________, 2023.

                                           JEFFREY P. COLWELL
                                           Clerk of the U.S. District Court


                                       By: _____________________________
                                           Deputy Clerk




                                       2
